

People v Ortiz (2021 NY Slip Op 06305)





People v Ortiz


2021 NY Slip Op 06305


Decided on November 12, 2021


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 12, 2021

PRESENT: WHALEN, P.J., SMITH, CENTRA, CARNI, AND TROUTMAN, JJ. (Filed Nov. 12, 2021.) 


MOTION NO. (1337/18) KA 15-02050.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vANTHONY S. ORTIZ, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion for writ of error coram nobis denied.








